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16
                                      UNITED STATES DISTRICT COURT
17                                 IN AND FOR THE DISTRICT OF NEVADA

18    WOOD GROUP USA, INC., as successor in
      interest by merger to AMEC FOSTER
19    WHEELER KAMTECH, INC., a Texas                  CASE NO.      3:24-cv-00273-MMD-CLB
      corporation,
20
               Plaintiff,                               ORDER GRANTING STIPULATION
21                                                     EXTENDING TIME FOR DEFENDANT
                             vs.                         TO RESPOND TO COMPLAINT
22
      NEVADA GOLD ENERGY, LLC, a Delaware                          (Second Request)
23    limited liability company,

24             Defendant.

25

26            Pursuant to the provisions of LR IA 6-1 and LRIA 6-2, Plaintiff Wood Group USA, Inc., as

27   successor in interest by merger to Amec Foster Wheeler Kamtech Inc. (“Plaintiff”) and Defendant

28   Nevada Gold Energy LLC (“NGE”), by and through their respective counsel, hereby stipulate that


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 1   Defendant may have an extension of time to August 15, 2024 in which to respond to the Summons and

 2   Complaint filed and served by Plaintiff. The reasons for the extension are to give the parties more time

 3   to allow the parties to continue their on-going, informal attempts to resolve this matter without further

 4   litigation or expense to either side.

 5            This is the parties second request for an extension.
 6

 7            Dated this 1st day of August, 2024.
 8
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20      IT IS SO ORDERED.                                  K&L GATES LLP
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25

26
27

28

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